                                 Case 1:23-cv-00014 Document 1 Filed 12/11/23 Page 1 of 9




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                                                                                                 FILED
              3
                  P.O. Box 5093 Saipan, MP 96950                                                      ClGrt
                  Michael Chen                                                                   District Court
              d   Michael Chen Law Offices
                  7330 Edna Ave.
              5                                                                               DEC 1 : Zu23
                  Las Vegas, NV 89117
              6   {Pro Mac Vice Pending)                                                                             2na islands
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                  Altonieys jor PiaitUiff IPl (CNMi) LLC                                                      CIC'iA)



                                        IN THE UNITED STATES DISTRICT COURT
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                                        FOR THE NORTHERN MARIANA ISLANDS
             10


             11

                                                                  Case No.
             12     Imperial Pacific International (CNMI) LLC,
             13                                                   COMPLAINT FOR
                    Plaintiff.
                                                                       L    UNCONSTITUTIONAL
       X     14
       OJ                                                                   IMPAIRMENT OF CONTRACT
       o            Commonwealth Casino Commission of the
       o
                                                                            AND VIOLATION OF THE
●r-i
       rvj
       CD
             15     Commonwealth of Northern Marianas
CJ)                                                                         CONTRACTS CLAUSE OF
CO     CNJ          Islands;
>            16                                                             THE U.S AND CNMI
                                                                            CONSTITUTIONS;
       CD
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                    Defendant.
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                                                                       2.   VIOLATION OF THE
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                                                                            TAKINGS CLAUSE OF THE
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<                                                                           U.S. CONSTITUTION;
LU
             19                                                        3.   VIOLATION OF THE DUE
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                                                                            PROCESS CLAUSES OF THE
<            20
Q
                                                                            U.S. CONSTITUTION;
LL)
             21                                                        4.   BREACH OF CASINO
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ro
CO                                                                          LICENSE AGREEMENT
r--
             22                                                        5.   DECLARATORY RELIEF,
                                                                            INJUNCTION AND
             23
                                                                            RESTITTUION.

             24
                                                                  DEMAND FOR JURY TRIAL
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                                                           COMPLAINT                                                     1
                               Case 1:23-cv-00014 Document 1 Filed 12/11/23 Page 2 of 9




             1
                          Plaintiff, Imperial Pacific International (CNMI), LLC: {hereinafter referred to as “IPI”),
             2
                 by and through its undersigned counsels, as and for its complaint against Commonwealth Casino
             3
                 Commission of the Commonwealth of Northern Marianas Islands, (hereinafter refeired to as
             4
                 “CCC”), alleges as follows:
             5
                                                           JURISDICTION

             6
                         I.    The jurisdiction of this Court is invoked pursuant to Article 3, Section 2, of the
             7
                 United States Constitution and 28 U.S.C. Section 1331 in that the action arises under the
             8
                 Contracts. Takings, Due Process and Equal Protection Clauses of the United States Constitution,
             9
                 and Plaintiffs right to relief depends on resolution of substantial questions of federal laws.
            10
                 Jurisdiction is also invoked pursuant to 28 U.S.C. Section 1367 and principles of supplemental
            11
                 and ancillary jurisdiction.
            12
                                                                VENUE

            13
                         2.    Venue is proper in the federal district court for the Northern Mariana Islands in that
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                 Defendant resides and does business in this District, including business related to the claims
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      c\j
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  t
CT)              asserted herein (28 U.S.C. Section 1391 (b) (1), the events on which the claims are based
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      CNJ
      to
                 occurred in this District (28 U.S.C. Section 1391(b) (2)), and the property which is the subject of
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      U          this action is located in this District (28 U.S.C. Section 1391 (b) (2)).
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                                                 IDENTIFICATION OF PARTIES

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                         3.    Plaintiff IPl is a limited liability company organized under the law of the
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a
                 Commonwealth of the Northern Mariana Islands, with its principal place of business at PMB 895
            21
                 Box 10001, Saipan, 96950, Northern Mariana Islands. Its sole member is Best Sunshine
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CO
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            22
                 International Ltd. (BVl). (*1iereinafter referred to as “Best Sunshine"). Best Sunshine is a
            23
                 corporation organized under the law of the British Virgin Islands, with its principal place of
            24
                 business at P.O Box 957. Offshore Incorporation Centre, Road Town, Tortola, British Virgin
            25
                 Islands. Best Sunshine is a wholly owned subsidiary of Imperial Pacific International Holdings
            26
                 Ltd., a publicly traded company on the Hong Kong Stock Exchange and was incorporated under
            27
                 the laws of Hong Kong, China.
            28



                                                              COMPLAINT                                             -2-
                              Case 1:23-cv-00014 Document 1 Filed 12/11/23 Page 3 of 9




             1
                         4.   The Commonwealth Casino Commission (“CCC”) is the casino gaming regulatory
             2
                 agency of the Commonwealth of the Nonhern Mariana Islands {'‘CNMI") government that
             3
                 oversees and regulates the activities of the exclusive casino licensee operating in Saipan. CCC
             4
                 was established pursuant to 4 CMC Section 2313 under PL 18-56 on July 11, 2014.
             5


             6
                                                    FACTUAL ALLEGATIONS

             7
                         5.   On or about August 12, 2014, IPl entered into a Casino License Agreement (CLA)
             8
                 with the Governor and the Commonwealth Lottery Commission. Under CLA. among other
             9
                 obligations, IPI would pay a fifteen million dollars ($15,000,000.00) annual Casino License Fee.
            10
                 IPI dutifully paid the annual license fee each year between 2014 and 2019.
            11
                         6.   On December 4. 2015, CNMI promulgated Public Law 19-24, which imposes a new
            12
                 obligation on IPl to pay CCC an annual “Casino Regulatoi^ Fee” of three million dollars
            13
                 ($3,000,000.00) on or before October 1 of each year beginning October 1,2015 (“Regulatory
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      (N
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                 Fee Statute").    That fee is due to CCC “regardless of the actual costs incurred by the [CCC]." 4
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    CD
      ^          C.M.C. Section 2309 (a). IPI dutifully paid the Casino Regulator Fee each year from 2015
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                 through 2019.
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                         7.   Before Public Law 19-24 was signed by then Acting Governor, Ralph DLG. Toixes,
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<                the CNMI legislature's statutory language provided for a “Nonrefundable Credit" to the $3M
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                 regulatory fee.   The nonrefundable credit would allow IPI to apply the fees paid to CCC as a
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Q      ..
                 credit against taxes on general revenue as imposed by 4 C.MC. Section 1301. The Acting
            21
                 Governor vetoed the provision of “Nonrefundable Credit" with the stated reason that, “the cost
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00
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            22
                 of regulating casino gaming activities on Saipan are to be paid in full by the licensee." See
            23
                 Exhibit A.

            24
                         8.   Due to a number of force majeure events and the suspension of the casino license
            25
                 by CCC, IPI has been unable to make the payment for the annual regulatory fee since October 1,
            26
                 2020.

            27


            28


                                                             COMPLAINT                                           -3
                              Case 1:23-cv-00014 Document 1 Filed 12/11/23 Page 4 of 9




            1
                        9.    On or about December I, 2023, CCC issued a demand of SI 7,625.000.00 related to
            2
                the regulatory fees, as well as fines and penalties, as a prerequisite for IPfs license being
            3
                restored and for IPI to resume its business in CNMI.

            4
                                                 CONSTITUTIONAL GROUNDS

            5
                        10.   The Contracts Clause of the United States Constitution (U.S. Const. Art. I. Section
            6
                10. cl. 1) prohibits any state from passing a ’‘law impairing the obligation of contracts.”
            7
                        11.   Section 1 of the CNMI Constitution likewise states that ”[n]o law shall be made that

                is a bill of attainder, an ex post facto law. a law impairing the obligation of contracts...”
            9
                        12.   Under the Takings Clause of the Fifth Amendment to the U.S. Constitution, made
           10
                applicable to the States by the Fourteenth Amendment (U.S. Const.. Amends. V & XIV). the
           11
                government is barred “from forcing some people alone to bear public burdens which, in all
           12
                fairness and justice, should be borne by the public as a whole.” Armstrong v. United States, 364
           13
                U.S. 40, 49 (I960).
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                        13.   Under the Due Process Clause and Equal Protection Clause of the Fourteenth
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                Amendment to the U.S Constitution, the government shall not deprive any person of property,
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>     up   16
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                without due process of law, or deny to any person the equal protection of the laws.
(/)
<          17
^ (J                    14.   In 1975, the United States and the CNMI entered into the Covenant to Establish a
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<               Commonwealth of the Northern Mariana Islands in Political Union with the United States of
LU
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<      ^
                America (“Covenant”), providing that the CNMI would have Commonwealth status, the
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                Covenant was signed into law by the U.S. Congress in 1976 and fully implemented in November
           21
o
00              1986.
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r~-
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                        15.   Under Section 501(a) of the Covenant, the Contracts Clause, the Takings Clause,
           23
                and the Due Process Clause and Equal Protection Clause of the United States Constitution are
           24
                applicable to the CNMI.
           25
                                                   FIRST CAUSE OF ACTION

           26
                (Atiainst Defendant for Unconstitutional Impairment of the Contracts Clause of the United
           27
                                                 States and CNMI Constitutions)

           28


                                                             COMPLAINT                                          -4-
                                    Case 1:23-cv-00014 Document 1 Filed 12/11/23 Page 5 of 9




                 1
                              16.   Plaintiff incorporates herein by this reference the allegations contained in the
                 2
                     preceding paragraphs.
                 3
                              17.   Plaintiff hereby seeks declaratoiy, injunctive and equitable relief to prevent CCC
                 4
                     from violating and continuing to violate, the Contracts Clauses of the United States Constitution
                 5
                     and CNMI Constitution.

                 6
                                    CNMI and IPl had an existing contractual relationship that provides IPl with certain
                 7
                     contractual and property rights to operate a casino in CNMI in exchange for substantial
                 8
                     compensation to CNMI.
                 9
                              19.   Acting under color of Commonwealth law, CCC, as an agency of CNMI, has
                10
                     caused IPI to suffer a substantial deprivation of its contract rights in violation of the federal and
                11
                     commonwealth constitutions. The Regulatory Fee Statute imposed additional fees for doing
                12
                     business in CNMI, which constitutes a substantial and unconstitutional impainnent of the CLA.
                13
                     IPI was and is still required by CCC to pay the S3M annual regulatory fee as a prerequisite to
          X     14
          CNJ
          O          exercising its existing contractual and property rights set forth explicitly in the CLA, rights for
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      I
          ^          which it already has compensated the Commonwealth. In essence, CCC is double-charging IPl.
CO        CN
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          CM
          iO         The annual regulatory fees are substantial, and the impairment to the express and implied temis
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<               17
CD        CJ         of the CLA is direct. The later imposed regulatory fees effectively nullify the explicit terms of
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                     the CLA and impose completely unexpected and new liabilities and limitations on the operation
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                19
>                    of IPL
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                              20.   IPI has incurred and will continue to incur attorney’s fees and costs because of
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                     these proceedings, in amounts that cannot yet be ascertained, which are recoverable in this action
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                22
                     under the provisions of 42 U.S.C. Section 1988 (b).
                23


                24
                                                       SECOND CAUSE OF ACTION

                25
                      (Against Defendant for Violation of the Taking Clause of the United States Constitution)
                26
                              21.   Plaintiff incorporates herein by this reference the allegations contained in the
                27
                     preceding paragraphs.
                28



                                                                   COMPLAINT                                            -5-
                              Case 1:23-cv-00014 Document 1 Filed 12/11/23 Page 6 of 9




             1
                        22.   Plaintiff hereby seeks declaratory, injunctive and equitable relief to prevent CCC
             2
                 from violating and continuing to violate the Takings Clause in the Fifth Amendment to the
             3
                 United States Constitution, made applicable to CNMI through the Fourteenth Amendment, as
             4
                 well as the Section 501 (a) of the Covenant.
             5
                        23.   Acting under color of law, CNMI has arbitrarily caused IPI to suffer a deprivation
             6
                 of its federal and commonwealth constitutional rights. CCC requires IPI to pay excessive and
             7
                 unlawful fees pursuant to the later enacted Regulatory Fee Statute without formal condemnation,
             8
                 as a condition for IPI to operate its business under the CLA despite the CLA already expressly
             9
                 providing for an annual license fee and no such regulatory fee, and further despite IPl being
            10
                 legally prohibited from operating the casino during the pandemic and when its license was
            11
                 suspended. CNMI is thereby permanently, directly and substantially interfering with IPI’s use
            12
                 and enjoyment of its contractual and property rights, amounting to an unauthorized taking
            13
                 without just compensation.
      X     14
      CN
      O
                        24.   IPI has incurred and will continue to incur attorney's fees and costs because of
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CT)
      CD
      "g-        these proceedings, in amounts that cannot yet be ascertained, which arc recoverable in this action
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      iO
                 under the provisions of 42 U.S.C. Section 1988 (b).
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      C3
      U                                             THIRD CAUSE OF ACTION
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to    o               (Against Defendant for Violation of the Due Process Clauses of the United States
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            19
>                                                          Constitution)
      a;
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                        25.   Plaintiff incorporates herein by this reference the allegations contained in the
Q

            21
                 preceding paragraphs.
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            22
                        26.   Plaintiff hereby seeks declaratory, injunctive and equitable relief to prevent CCC
            23
                 from violating and continuing to violate the Due Process and Equal Protection Clauses in the
            24
                 Fourteenth Amendment to the United States Constitution, made applicable to CNMI by the
            25
                 Section 501 (a) of the Covenant.
            26
                        27.   Acting under color of law, CNMI has caused IPl to suffer a deprivation of its
            27
                 federal and commonwealth constitutional rights. CCC requires IPI to pay excessive and unlawful
            28



                                                             COMPLAINT                                           -6-
                               Case 1:23-cv-00014 Document 1 Filed 12/11/23 Page 7 of 9




            ^   fees pursuant to the later enacted Regulatory Fee Statute without due process of law in violation
                of Section 1 of the Fourteenth Amendment, as a condition for IPI to operate its business under

            ^   the CLA.
            4
                       28.    Acting under color of law, CNMI has caused IPI to suffer a deprivation of its
            5
                federal and commonwealth constitutional rights. CCC requires IPI alone to pay excessive and
            6
                unlawful fees pursuant to the later enacted Regulatory Fee Statute, which violates the Equal
            7
                Protection Clause found in Section 1 of the Fourteenth Amendment.
            8
                       29.    The actions of CNMI in enacting and CCC in implementing the annual regulatory
            9
                fee upon IPl were and are arbitrary, capricious and unreasonable in the following respects,
           10
                among others:
           11
                       (a) The annual regulatory fees have the effect of circumventing the clear and
           12
                             unambiguous terms of the CLA, which provides for the payment of a specified
           13
                             business license fee as compensation for the right and privilege obtained by IPI for
     X     14
     CNJ
     O                       operating a casino in CNMI:
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     (n
                       (b) The annual regulatory fee imposed by CNMI and as implemented by CCC, by its own
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                             explicit language, bears no reasonable relationship to the true costs of regulating the
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   o                         casino industry;
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                       (c) The annual regulatory fees imposed by CNMI and as implemented by CCC,
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                             consistently exceeded the actual costs of the operation of CCC. See Exhibit B.
<          20
                       30.     IPI has incurred and will continue to incur attorney's fees and costs because of
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           21
                these proceedings, in amounts that cannot yet be ascertained, which are recoverable in this action
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           22
                under the provisions of 42 U.S.C. Section 1988 (b).
           23


           24
                                                 FOURTH CAUSE OF ACTIONS

           25
                                 (Against Defendant for Breach of Casino License Agreement)
           26
                       31.     Plaintiff incorporates herein by this reference the allegations contained in the
           27
                preceding paragraphs.
           28



                                                              COMPLAINT                                             7
                               Case 1:23-cv-00014 Document 1 Filed 12/11/23 Page 8 of 9




            1
                         32.   Plaintiff hereby requests declaratory, injunctive and equitable relief pursuant to 28
            2
                U.S.C. Section 2201 and Rule 57 of the Federal Rules of Civil Procedure.
            3
                         33.   Actual controversies have arisen between IPl and CCC with regard to whether the
            4
                annual regulatory fee imposed by CCC as a prerequisite for IPl to operate its business violate the
            5
                tenns of the CLA.

            6
                         34.   CCC’s unilateral and unlawful imposition on IPI of the annual regulatory fee
            7
                constitutes a breach of the CLA and an improper unilateral modification of the CLA.
            8
                         35.   IPI seeks declaratory relief and a Judicial determination, pursuant to 28 U.S.C.
            9
                Section 2201 and Rule 57 of the Federal Rules of Civil Procedure;

           10
                         (a), that the imposition of the annual regulatory fee is in contravention of the CLA;
           11
                         (b). that the IPI is either exempt from or not subject to the annual regulatory fee because
           12
                         of the pre-existing agreement with CNMI;
           13
                         (c). that the annual regulatory fee as applied to IPl is unconstitutional;
     X     14
     C\J
     o                   (d). that CCC is prohibited from enforcing the annual regulatory fee statute against IPL or
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     CM
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^    CT)
                         mandating CCC exempt IPl from the annual regulatory fee, given the terms of the CLA
CO   CM
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                         and applicable federal and Commonwealth constitutional laws.
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                                                      PRAYER FOR REHEF
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                    WHEREFORE, Plaintiff IPl prays for judgment against CCC, as an agency of CNMI, as
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                follows:
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                         For the Court to issue a declaration stating that IPl is exempt or excepted from, or not
o
                    1.
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           22
                         subject to the terms of the Regulatory Fee because of the express terms of the CLA
           23
                         entered into by IPI and CNMI prior to the enactment of the annual regulatory fees statute;
           24
                   2.    For the Court to issue an injunction against CCC preventing the enforcement of the
           25
                         Regulatory Fee Statute and collection of the annual regulatoiy fee against IPI, or
           26
                         mandating that CCC exempt or except IPI from the annual regulatory fee, given the
           27


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                                                              COMPLAINT
                               Case 1:23-cv-00014 Document 1 Filed 12/11/23 Page 9 of 9




            1
                         express terms of the CLA entered into by IPl and CNMI prior to the enactment of the
            2
                         annual regulatory fee statute;
            3
                   3.    For the Court to issue a declaration stating that the Regulatory Fee Statute, as applied to
            4
                         IPl, is unconstitutional;
            5
                   4.    For the Court to order CCC to pay restitution of all regulatory fees paid by IPl in the past;
            6
                   0.    For the Court to order CCC to vacate, nullify any and all adverse administrative decisions
            7
                         against IPI that were based upon the annual Regulatory Fee Statute, including the
            8
                         imposition of fees, interests and penalties for failure to pay the annual regulatory fees; as
            9
                         well as the suspension of its license based upon the annual regulatory fee statute;
           10
                   6.    For all costs of suit incurred herein;
           11
                   7.    For reasonable attorney’s fees incuiTed herein;
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                   8.    For such other and further relief as the Court may deem just and proper.
           13


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     CN
                Dated;
                                                                   Respectfully submitted,
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                           December 6th, 2023
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     CD
                           Saipan, CNMI                            Bv:/s/ Stephen Nuttimz
CO   CM

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> CM                                                               Stephen Nutting
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                                                                   P.0, Box 5093 Saipan, MP 96950
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>
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<          20                                                      Michael Chen Law Offices
Q     -
                                                                   7330 Ldna Ave.
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CO                                                                 Las Vegas, NV 89117
           22                                                      Pro Hac Vice Pending
           23
                                                                   Attorneys for Plaintiff
                                                                   IMPERIAL PACIFIC INTERNATIONAL
           24
                                                                   (CNMI), LLC
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                                                                  COMPLAINT                                        -9
